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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA




      MILLICENT CRAWFORD                     CIVIL ACTION NO.

      VERSUS                                 28-CV-3847

      HYATT CORPORATION, ARES
      MANAGEMENT GROUP, LLC,                 JUDGE: NJB
      HYATT LOUISIANA LLC AND
      WESTERN WORLD INSURANCE
      COMPANY                                MAGISTRATE JUDGE: DMD




            PROCES VERBAL OF AERION BURNETT taken before
      Leah J. Glass, Certified Shorthand Reporter at 631
      St. Charles Avenue, New Orleans, Louisiana 70130 taken
      on the 12th day of June 2019.




      APPEARANCES:
      Representing the Plaintiff:
            NICHOLAS S. LINDNER
            631 St. Charles Avenue
            New Orleans, Louisiana 70130


      Representing Hyatt Corporation:
            MUSGRAVE, McLACHLAN & PENN
            BY: MAGEN DETILIEU
            1515 Poydras Street
            Suite 2380
            New Orleans, Louisiana 70112
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      Representing Service Companies Inc:
            TREADAWAY BOLLINGER
            BY: BRAD D. FERRAND
            605 North Florida
            Suite 2
            Covington, Louisiana 70433




      REPORTED BY:
            LEAH J. GLASS, CSR, CCR
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 1           MR. LINDNER:

 2                This is the deposition of Aerion Burnett.             It

 3   is 10:18 on June 12th.        I'm going to attach an exhibit

 4   to the deposition.       Mrs. Burnett is not present in the

 5   room.    I'm going to attach this document as an exhibit,

 6   it is a return showing that Mrs. Burnett was served

 7   personally on June 5th with a subpoena to be here at

 8   10:00 a.m.    She has not appeared.

 9           MRS. DETILIEU:

10                Just for appearance purposes I'm Magen

11   Detilieu here on behalf of Hyatt Hotel and Western

12   World Insurance Company.

13           MR. FERRAND:

14                Brad Ferrand on behalf of The Service

15   Company, Inc.

16           MR. LINDNER:

17                That's it.

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                              SUPERIOR REPORTING
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 1                      REPORTER'S CERTIFICATE

 2

 3

 4   This certificate is valid only for a

 5   transcript accompanied by my original

 6   signature and original required seal on this

 7   page.

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10        I, LEAH J. GLASS, Certified Shorthand Reporter

11        in and for the State of Louisiana do hereby certify

12        that the within witness, after having been duly

13        sworn to testify to the truth, the whole truth and

14        nothing but the truth, did testify as hereinabove

15        set forth in the foregoing pages;

16                That the testimony was reported by me in

17        shorthand and transcribed under my personal

18        supervision, and is a true and correct transcript

19        to the best of my ability and understanding;

20                That the transcript has been prepared in

21        compliance with transcript format guidelines

22        required by statute or by rules of the board,            that

23        I have acted in compliance with the prohibition on

24        contractual relationships as defined by Louisiana

25        Code of Civil Procedure Article 1434 and in rules




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 1        and advisory opinions of the board;

 2                That I am not of Counsel, nor        related to

 3        Counsel or the parties hereto, and in no way

 4        interested in the outcome of this event.

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10   LEAH J. GLASS

11   CERTIFIED SHORTHAND REPORTER

12   In and for the State of Louisiana

13   LICENSE NO. 87026

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                             SUPERIOR REPORTING
